                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                       Plaintiff,                            Case No. 07-CR-144

               vs.

NASIF N. TAYLOR,

                       Defendant.


                        PRELIMINARY ORDER OF FORFEITURE


       Upon the motion of the United States of America pursuant to Rule 32.2 of the Federal Rules

of Criminal Procedure, and upon the entry of the plea agreement, and in consideration of the guilty

plea of the above-named defendant to Count One of the Indictment, defendant Nasif N. Taylor

agrees to the forfeiture of his interest in properties named in the forfeiture provision of the

Indictment filed June 12, 2007;

       IT IS HEREBY ORDERED that any right, title and interest of the defendant in the

properties described below is hereby forfeited to the United States pursuant to Title 21, United

States Code, Section 853:

       1.      Approximately $8,205 in United States currency seized on or about May 31,
               2007, from a hotel room at the Exel Inn located at 2870 Ramada Way, in the
               Village of Ashwaubenon, in the State and Eastern District of Wisconsin; and

       2.      Approximately $265 in United States currency seized from defendant Nasif
               N. Taylor on or about May 31, 2007.

       IT IS FURTHER ORDERED that the above items shall be seized forthwith by the United

States Marshal for the Eastern District of Wisconsin, or its duly authorized representative.




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       IT IS FURTHER ORDERED that pursuant to Title 21, United States Code, Section

853(n)(1) the United States shall publish notice of this order and of its intent to dispose of the

properties according to law.

       IT IS FURTHER ORDERED that this Order be incorporated by reference in the

defendant’s Judgment and Commitment Order.

       Dated at Green Bay, Wisconsin, this    14th   day of September, 2007.




                                             s/ William C. Griesbach
                                             HONORABLE WILLIAM C. GRIESBACH
                                             United States District Judge




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